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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )                     4:09CR3117
                      Plaintiff,               )
                                               )
               v.                              )                       ORDER
                                               )
TRAVES RUSH, and MARCUS SHORT,                 )
                                               )
                      Defendants.              )



       IT IS ORDERED that the defendant Rush’s Motion to Continue the Deadline for Filing
Additional Pretrial Motions, (filing no. 48), is granted, and the defendant Rush’s pretrial motion
deadline is extended to February 3, 2010.



       DATED this 27th day of January, 2010.

                                              BY THE COURT:

                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
